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                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

UNITED STATES OF AMERICA,                    :    Case No. 3:20-cr-51

                     Plaintiff,              :    JUDGE MICHAEL J. NEWMAN

              vs.                            :
                                                  THE UNITED STATES’ POST-
KEVIN A. KOVACS,                             :    HEARING BRIEF SUBMITTED IN
                                                  OPPOSITION TO THE DEFENSE
                     Defendant.              :    SUPPRESSION MOTION (DOC. #30)


              ______________________________________________________

       Now comes the United States by and through the undersigned counsel with its Post-

Hearing Brief in Opposition to the Defense Suppression Motion. (Doc. #30).

                                                  Respectfully submitted,

                                                  VIPAL J. PATEL
                                                  Acting United States Attorney


                                                  s/Dwight K. Keller
                                                  DWIGHT K. KELLER (0074533)
                                                  Assistant United States Attorney
                                                  Attorney for Plaintiff
                                                  Federal Building
                                                  200 West Second Street, Suite 600
                                                  Dayton, Ohio 45402
                                                  (937) 225-2910
                                                  Fax: (937) 225-2564
                                                  Dwight.Keller@usdoj.gov
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                                 STATEMENT OF THE CASE

       On April 15, 2020, Special Agent (SA) Andrea R. Kinzig of the Federal Bureau of

Investigation (FBI), swore out a criminal complaint against the defendant KEVIN A. KOVACS,

(hereinafter referred to as “KOVACS” or “the defendant”). (See Case No. 3:20-mj-180). (Doc.

#3). As a result, then U. S. Magistrate Judge Michael J. Newman issued an arrest warrant for the

defendant. (Doc. #4). On June 2, 2020, a Grand Jury sitting in Dayton, Ohio returned a ten-count

indictment against the defendant. (See Case No. 3:20-cr-51). (Doc. #23). Counts 1-3 allege

production of child pornography in violation of 18 U.S.C. §§ 2251(a) and (e); Count 4 alleges

distribution of child pornography in violation of 18 U.S.C. §§ 2252(a)(2) and (b)(1); Count 5

alleges receipt of child pornography in violation of 18 U.S.C. §§ 2252(a)(2) and (b)(1); Counts 6-

8 allege transportation of child pornography in violation of 18 U.S.C. §§ 2252(a)(1) and (b)(1);

Count 9 alleges possession of child pornography in violation of 18 U.S.C. §§ 2252(a)(4)(B) and

(b)(2); and Count 10 alleges witness tampering in violation of 18 U.S.C. §§ 1512(b)(3) and (c)(2).

       On September 17, 2020, KOVACS filed a motion to suppress certain evidence derived

from two state search warrants: one that was executed on December 19, 2019 at his Fairborn, OH

residence, and a second that was executed on December 20, 2019 concerning three electronic

devices previously seized by law enforcement from the defendant’s home. (Doc. #30).

       On May 13, 2021, this Court convened an evidentiary hearing to consider the merits of said

defense suppression motion.      (Page references to the transcript of this hearing (Doc. #45)

hereinafter appear as “Tr.”). On July 1, 2021, the defense filed its post-hearing brief. (Doc. # 46).

The Government responds herein with its post-hearing brief in opposition.




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                                    STATEMENT OF FACTS

       On December 18, 2019, Detective Shane Hartwell of the Fairborn PD applied for and was

granted a search warrant (hereinafter referred to “Search Warrant #1”) for defendant’s 1445 Sunset

Drive, Fairborn, OH residence from Greene County Common Pleas Court Judge Stephen A.

Wolaver. (Tr. @ 9-11; GE #1). This warrant was executed the following day. (Tr. @ 12-13).

The return for Search Warrant #1 was ultimately filed with the Common Pleas Court Clerk’s Office

on January 15, 2020. (Tr. @ 13-14). Among the various items seized from defendant’s residence

were three Apple iPhones. (Tr. @ 11, 13). On December 20, 2019, Detective Hartwell applied

for and received a second search warrant from Judge Wolaver (hereinafter referred to as “Search

Warrant #2”) concerning the three Apple iPhones collected from the defendant’s residence. (Tr.

@ 11-13, 19; GE #2). Search Warrant #2 was executed on the date of its issuance. (Tr. @ 14,

19). An initial forensic examination of these three iPhones was performed by Detective Robert

Bell of the West Carrollton PD. (Tr. @ 14, 20, 37). A more sophisticated follow-up forensic

analysis was performed by the FBI’s Laboratory in Quantico, Virginia on one of the seized phones,

to wit: the Apple iPhone x10. (Tr. @ 15-17, 37). Upon completion of the FBI examination, the

return for Search Warrant #2 was filed with the Common Pleas Court Clerk’s Office on April 30,

2020. (Tr. @ 17-18).

       Prior to January 2020, the FBI played no substantive role in either obtaining or executing

either warrant. (Tr. @ 15-16). In early January 2020, the FBI assumed primary investigative

jurisdiction in this case. (Tr. @ 15).




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                                             ISSUES:

I.       DID SEARCH WARRANT #1 COMPLY WITH THE REQUIREMENTS OF THE
         FOURTH AMENDMENT?

II.      DID SEARCH WARRANT #2 COMPLY WITH THE REQUIREMENTS OF THE
         FOURTH AMENDMENT?

III.     WOULD A FAILURE TO COMPLY WITH THE PROMPT FILING
         REQUIREMENTS OF O.R.C. § 2933.241 JUSTIFY SUPPRESSION OF THE
         FRUITS OF EITHER SEARCH WARRANT IN A FEDERAL PROSECUTION?

IV.      WAS THE FBI JURISDICTIONALLY RESTRICTED IN ANY WAY FROM
         RELYING ON SEARCH WARRANT #2 TO SEARCH THE SEIZED APPLE
         iPHONE X10?
                                       DISCUSSION OF LAW

         1.     The Fourth Amendment provides that: “no [w]arrants shall issue, but upon probable

cause, supported by [o]ath or affirmation, and particularly describing the place to be searched, and

the persons or things to be seized.”

         2.     The burden of proof rests upon the defendant to demonstrate either a constitutional

or statutory right justifying suppression of evidence. United States v.Rodriguez-Suazo, 346 F.3d

637, 643 (6th Cir. 2003).

         3.     Legal standing under the Fourth Amendment only exists when the moving party

establishes both a subjective and reasonable expectation of privacy in the area to be searched, or

in the evidence to be seized. Minnesota v. Carter, 525 U.S. 83, 91 (1998).

         4.     Legal standing to challenge the admissibility of seized evidence requires an initial

showing that a personal constitutional right was violated. United States v. Salvucci, 448 U.S. 83,

86-87 (1980); see also Rakas v. Illinois, 439 U.S. 128, 134 (1978).

         5.     A search is a governmental intrusion onto private property for the purpose of

obtaining information. United States v. Jones, 132 S.Ct. 945, 950 (2012).




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        6.     A seizure is a governmental intrusion that meaningfully interferes with an

individual’s possessory interest. United States v. Jacobsen, 466 U.S. 109, 113 (1984).

        7.      Probable cause to search is defined as “a fair probability that contraband or

evidence of a crime will be found in a particular place.” Illinois v. Gates, 462 U.S. 213, 238

(1983). The Sixth Circuit has defined probable cause as a reasonable ground for belief, supported

by less than prima facie proof but more than mere suspicion. There must be a fair probability,

given the totality of the circumstances, that contraband or evidence of a crime will be found in a

particular place. United States v. Howard, 621 F.3d 433, 453 (6th Cir. 2010).

        8.     Probable cause is required to justify most governmental intrusions upon interests

protected by the Fourth Amendment. Ornelas v. United States, 517 U.S. 690, 695 (1996).

Probable cause is considered “a practical, nontechnical concept” based on “common-sense

conclusions about human behavior.” Gates, at 231. It has been described as “a fluid concept—

turning on the assessment of probabilities in particular factual contexts—not readily, or even

usefully, reduced to a neat set of rules,” Id. at 232. Its existence is determined by analyzing “the

totality of the circumstances” surrounding the intrusion. Id. at 238. The Supreme Court has opined

that:

        Finely tuned standards such as proof beyond a reasonable doubt or by a
        preponderance of the evidence, useful in formal trials, have no place in the
        magistrate’s decision [whether to issue a warrant]. While an effort to fix some
        general, numerically precise degree of certainty corresponding to “probable cause”
        may not be helpful, it is clear that “only the probability, and not a prima facie
        showing, of criminal activity is the standard of probable cause.”

        Id. at 235 (quoting Spinelli v. United States, 393 U.S. 410, 419 (1969)).

        9.     Under the Fourth Amendment’s warrant requirement, an impartial judicial official

must assess whether law enforcement officials have properly established probable cause to conduct

a search for evidence, contraband, or instrumentalities, and fruits of a crime. Warden, Md.

Penitentiary v. Hayden, 387 U.S. 294, 301-02 (1967). Before any magistrate can lawfully issue a


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warrant, a supporting affidavit must be presented that sets forth “[that] there is a fair probability

that contraband or evidence of crime will be found in a particular place.” Gates, 462 U.S. at 213.

A supporting affidavit must demonstrate probable cause in support of finding evidence at a

particular location. Kirk v. Louisiana, 536 U.S. 635, 638 (2002). A review of the sufficiency of

the supporting affidavit is limited to “the four corners” of the affidavit. United States v. Jackson,

470 F.3d 299, 306 (6th Cir. 2006). A magistrate’s decision to issue a search warrant is traditionally

afforded great deference. Reviewing courts must only examine whether the issuing magistrate

had a “substantial basis” for concluding the existence of probable cause. Gates, 462 U.S. at 238-

39.

       10.     Under the Supremacy Clause, of the U. S. Constitution., See Art. VI, cl. 2, mere

violations of state law will not justify suppression of evidence in federal court proceedings. See

United States v. McNulty, 729 F.2d 1243, 1251 (10th Cir. 1983) (citing United States v. Dudek, 530

F.2d 684, 690 (6th Cir. 1976). Federal Courts are deemed the final arbiters of the scope of all

federal constitutional rights. See Mars v. Mounts, 895 F.2d 1348, 1152 (11th Cir. 1980) (citing e.g.

Reynolds v. Sims, 377 U.S. 533, 566 (1964)). If a state law conflicts or interferes with a federal

law, the state law is invalidated Rose v. Arkansas State Police, 479 U.S. 1,3 (1986).

       11.     Law enforcement officers generally must secure a warrant before searching digital

information stored on an arrestee’s cell phone. Riley v. California, 134 S.Ct. 2473, 2485 (2014).

This was accomplished in subject case.

                                          ARGUMENT

          Both Search Warrants Fully Complied with Fourth Amendment Requirements

       12.     In subject case, both warrant applications were fully supported by detailed sworn

affidavits prepared by Detective Hartwell that established the predicate probable cause to search.

(GE #1 and #2).




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       13.     Both supporting affidavits provided Judge Wolaver with a detailed chronological

background of how in December 2019 officials at the Fairborn PD received an investigative

referral from Cuyahoga County Prosecutor’s Office on behalf of the Internet Crimes Against

Children (ICAC). (See GE #1, ¶¶ 2-5; GE #2, ¶¶ 2-5). This referral stemmed from two separate

complaints received by the National Center for Missing and Exploited Children (NCMEC). The

first complaint was received in 2017 from an internet cloud file sharing service known as Dropbox.

This complaint indicated that certain child pornography images and videos had been uploaded onto

a particular suspect’s account. In 2019, a second similar complaint was received from a social

media website known as MeWe.

       14.     Detective Hartwell’s supporting affidavits specifically outlined how ICAC

investigators were able to factually link the defendant to both said complaints based upon an

identical username of “Key Kovy”. Both Dropbox and MeWe provided investigators with the IP

addresses used to access these respective accounts. Both accounts had IP addresses listed in

Fairborn, Greene County, Ohio. The MeWe account had a listed telephone number that returned

to the defendant’s 1445 Sunset Drive, Fairborn, Ohio residence. The Dropbox account had a

listed an email address of key kovy@yahoo.com. Investigators were able to specifically tie this

email address also to the defendant and his Fairborn, OH residence.

       15.     Detective Hartwell’s two supporting affidavits identified and described certain

common characteristics and modus operandi employed by child pornography collectors and

traffickers. He indicated that individuals who collect child pornography: “almost always possess

and maintain their ‘hard copies’ of child pornographic images and reference materials (e.g.

mailing and address lists) in a private and secure locations. . . . Typically, these materials are

kept at the collector’s residence for easy access and viewing. Collectors usually place high value

on their materials because of the difficulty, and legal and social danger, associated with acquiring




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them. As a result, it is not uncommon for collectors to retain child pornography for long periods

of time, even for years.” (See GE #1, ¶10d; GE #2, ¶11d ).

       16.     Detective Hartwell’s initial affidavit stated: “Subscribers to websites that are

primarily designed to provide child pornography have a strong likelihood of being collectors of

child pornography. This high degree of correlation between subscription and collection behavior

has been repeatedly confirmed during several recent nationwide law enforcement initiatives.”

(See GE #1, ¶10g).

       17.     The defense discusses in its post-hearing memorandum the fact that Detective

Hartwell sought the professional advice of the Chief of the Child Advocacy Division at Dayton’s

Children’s Hospital to better determine the age of the suspect images contained in the MeWe

files. (Doc. #46 at PAGEID #256-57, 261). It correctly states the medical expert opined that

“there was a strong possibility that they were under 18.” (Id.). The defense memorandum

however, inexplicably neglects to point out that there was absolutely no question as to the age of

certain child victims depicted in the Dropbox images, to wit: “a young infant that was being

anally and vaginally raped while screaming.” (Doc. #46 at PAGEID #261-62).

       18.     Based upon the facts contained in both supporting affidavits, Judge Wolaver

properly and reasonably determined that probable cause existed to grant both requested search

warrants.

       Both Search Warrants Complied with the Requirements of O.R.C. § 2933.241

       19.     Once a federal criminal court has determined that Fourth Amendment standards

have been complied with, no state court or state case law can override that determination.

       20.     Under Ohio Rev. Code § 2933.241: “The [search warrant] return shall be made

promptly and shall be accompanied by a written inventory of any property taken.” The return for

Search Warrant #1 was filed 27 days following its initial execution on December 19, 2019. The

return for Search Warrant #2 was filed 4 ½ months days following its initial execution on


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December 20, 2019. Based on Detective Hartwell’s unrebutted testimony, both search warrant

returns were promptly and reasonably filed following completing of all forensic analysis in

accordance with his lengthy prior experience, and established past practices and procedures

employed by the Greene County Common Pleas Court. (Tr. @ 14, 17-18).

       21.     In federal prosecutions, federal standards are applied to determine the admissibility

of evidence. Wolfe v. United States, 291 U.S. 7 (1934). The test is one of federal law, neither

enlarged by what one state court may have countenanced, nor diminished by what another may

have colorably suppressed. Elkins v. United States, 364 U.S. 206, 223-24 (1960).

       22.     The Sixth Circuit has held that the filing of a search warrant return is considered a

mere “ministerial act”. A state police department’s failure to abide by a state procedural rule will

not implicate the federal exclusionary rule under the Fourth Amendment. See Dudek, 530 F.2d at

691; United States v. McKenzie, 446 F.2d 949, 954 (6th Cir. 1971) (ruling that the filing of a warrant

return – was a “ministerial” act that, absent a showing of prejudice, did not otherwise void the

warrant); Evans v. United States, 242 F.2d 534, 536 (6th Cir. 1957) (same).

       23.     The specific purpose of the exclusionary rule is to deter perceived police

misconduct. Mapp v. Ohio, 367 U.S. 643 (1961). When a police officer reasonably relies upon

an otherwise properly issued warrant, the evidence should be admissible, even if the court later

determines that probable cause does not exist. See United States v. Leon, 468 U.S. 897 (1984).

       24.     The defense post-hearing memorandum’s exclusive reliance upon Ohio state case

law to support its motion is irrelevant in resolving the asserted Fourth Amendment challenges in

this federal criminal proceeding. Compliance with unique state procedural requirements is of no

legal consequence in a federal criminal proceeding such as the subject case.




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       The FBI Properly Relied Upon Search Warrant #2 to Search the Apple iPhone x10

       25.     The Constitution permits the federal government and the States to pursue dual

investigations and dual charges, see Heath v. Alabama, 474 U.S. 82, 89 (1985), it also permits the

two sovereigns to coordinate law enforcement efforts. United States v. Castro, 881 F.3d 961, 967

(6th Cir. 2018). In the Sixth Circuit, federal law enforcement officers may help state officials

search for evidence of crime in connection with a state warrant so long as they are searching for

the same evidence as the state officers and the same evidence authorized by the state warrant. Id.;

and United States v. Garcia, 496 F.3d 495, 509-510 (6th Cir. 2007).

       26.     Federal officers may rely on a state warrant to conduct a follow-up search of a

previously seized cell phone without obtaining a second warrant so long as the search does not

exceed the probable cause articulated in the original warrant. Castro, 881 F.3d at 967.     This is

true even when officers conduct an initial search soon after the device’s seizure, and then waits

months or years to conduct a more intensive subsequent search. United States v. Johnston, 789

F.3d 934, 941-43 (9th Cir. 2015).

       27.     In subject case, Search Warrant #2 was specifically issued in support of an ongoing

state criminal investigation into alleged pandering of sexually oriented matter involving minors in

violation of O.R.C. § 2907.322; pandering obscenity involving a minor in violation of O.R.C. §

2907.321; and the illegal use of a minor person in nudity-oriented material or performance in

violation of O.R.C. § 2907.323. These state offenses mirror the subject federal child pornography

charges that are set forth in the defendant’s federal indictment. (Doc. #23).

       28.     In the Sixth Circuit, federal officers may assist state law enforcement officials in

searching for criminal evidence in connection with a state warrant so long as they search for the

same evidence authorized by the state warrant. United States v. Garcia, 496 F.3d 495, 509-10 (6th

Cir. 2007).




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       29.     A mere violation of state procedural law is insufficient to suppress evidence in

federal courts. See United States v. McNulty, 729 F.2d 1243, 1251 (10th Cir. 1983) (citing Dudek,

530 F.2d at 690). Federal courts “are the final arbiters of the scope of federal constitutional rights.”

Mars v. Mounts, 895 F.2d 1348, 1152 (11th Cir. 1980) (citing Reynolds v. Sims, 377 U.S. 533, 566

(1964). States have no authority to restrict federally protected rights Cooper v. Aaron, 358 U.S.

1, 18, 78 (1958).

       30.     As such, the FBI properly and lawfully relied upon Search Warrant #2 to perform

its forensic analysis on the defendant’s Apple iPhone x10 at its Quantico laboratory.

                                          CONCLUSION

       31.     In subject case, all the seized evidence was lawfully obtained in accordance with

Fourth Amendment standards.

       32.     Application of the exclusionary rule would be inappropriate in subject case

because: (1) both state search warrants fully complied with all the requirements of the Fourth

Amendment; (2) the ministerial act of filing the return occurred after the search warrants were

properly approved and executed. As such any perceived after the fact state procedural defects

cannot and should not serve as a basis to invalidate otherwise lawful warrants; (3) state law does

not control in federal criminal proceedings; (4) Detective Hartwell did not violate the cited state

procedural law; and (5) even if the state procedural law was violated, there is no legal precedence

justifying the suppression of seized evidence in either a state or federal court since no prejudice

can or has been shown.

       33.     In the Dudek case the Sixth Circuit was confronted with a similar factual scenario

as that appears in subject case. See 530 F.2d at 684. In Dudek, the search warrant return was

filed 11-months (as opposed to 4 ½ months in subject case) after the execution of a search warrant.

The filing of that return occurred two weeks prior to trial. Id. at 686. In subject case, the 4 ½

month delay in filing the return in Search Warrant #2 was due to the extended time period required


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to fully complete the FBI’s follow-on forensic analysis of the single Apple iPhone x10. (Tr. @

17-18). Absent any showing of prejudice, failure to file a search warrant return does not legally

void an otherwise proper search warrant. Evans v. United States, 242 F.2d 534, 536 (6th Cir. 1957).

In Dudek, the Court specifically held that non-constitutional, nonprejudicial and inadvertent

failures to follow Ohio post-search and seizure requirements do not trigger the application of the

federal exclusionary rule. 530 F.2d at 691.

       34.      Even if this Court were to determine otherwise, the good-faith exception to the

exclusionary rule would clearly apply in subject case. See Leon, 468 U.S. at 918-21.

       35.     Both challenged search warrants were properly and legally issued by Judge

Wolaver. The supporting affidavits for both search warrants fully satisfied the probable cause

requirements under the Fourth Amendment. Both warrants were promptly filed in accordance with

the established local and state practices and procedures. Under the Supremacy Clause, federal

courts are charged with the responsibility of independently assessing all Fourth Amendment issues

and challenges brought in federal proceedings. As the moving party, the defense has failed to

carry its burden of proof. As such the defense suppression motion should be denied.

                                                     Respectfully submitted,

                                                     VIPAL J. PATEL
                                                     Acting United States Attorney


                                                     s/Dwight K. Keller
                                                     DWIGHT K. KELLER (0074533)
                                                     Assistant United States Attorney
                                                     Attorney for Plaintiff
                                                     Federal Building
                                                     200 West Second Street, Suite 600
                                                     Dayton, Ohio 45402
                                                     (937) 225-2910
                                                     Fax: (937) 225-2564
                                                     Dwight.Keller@usdoj.gov




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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the attached Post Hearing Brief was electronically filed and

served upon all defense counsel of record via the CM/ECF system on this 7th day of July, 2021.

                                                     s/Dwight K. Keller
                                                     DWIGHT K. KELLER (0074533)
                                                     Assistant United States Attorney




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